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  16
  17                         UNITED STATES DISTRICT COURT
  18                      SOUTHERN DISTRICT OF CALIFORNIA
  19 ALEXANDRIA MOSELY, REJOYCE                 CASE NO. 3:22-cv-01976-DMS-AGS
     KEMP, BERENICE CISNEROS,
  20 BRUCE PARKER, individually,                The Hon. Dana M. Sabraw
  21               Plaintiffs,                  DECLARATION OF ALICIA A.
                                                BAIARDO IN SUPPORT OF
  22        vs.                                 DEFENDANTS’ MOTION TO
                                                COMPEL ARBITRATION
  23 WELLS FARGO & CO., WELLS
     FARGO BANK, N.A., and DOES 1               Courtroom: 13A
  24 through 5,
                                                Hearing Date: March 3, 2023
  25               Defendants.
                                                Complaint Filed: December 13, 2022
  26
  27
  28

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   1           1.   I am an attorney licensed to practice in the state of California and a
   2 member of the law firm of McGuireWoods LLP, counsel for Defendants Wells Fargo
   3 Bank, N.A. and Wells Fargo & Co. I have personal knowledge of the facts set forth
   4 herein and if called as a witness could and would testify competently to these facts
   5 under oath.
   6           2.   On November 25, 2020, McCune Law Group (“MLG”) filed a class
   7 action complaint on behalf of Mosanthony Wilson (“Wilson”) and all others similarly
   8 situated, alleging that Wells Fargo violated the requirements of the Federal Electronic
   9 Funds Act (“EFTA”), its implementing regulation at 12 C.F.R. ¶ 1005.1, et seq.
  10 (“Regulation E”) and California Business & Professions Code § 17200, et seq.
  11 (“California UCL”). See Wilson v. Wells Fargo & Co., Case No. 3:20-cv-02307-
  12 RBM-WVG, 2022 WL 4125220, at *1 (S.D. Cal. Sept. 9, 2022). Wells Fargo moved
  13 to compel Wilson’s dispute to arbitration on an individual basis, as required by the
  14 arbitration agreement between Wilson and Wells Fargo (the “Wilson Motion to
  15 Compel”). A true and correct copy of the Wilson Motion to Compel is attached hereto
  16 as Exhibit A. The Court granted Wells Fargo’s motion to compel, and in doing so
  17 concluded that the language of the Deposit Account Agreement stating that “any
  18 ‘disagreement about this Arbitration Agreement’s meaning, application or
  19 enforcement’ must be decided by an arbitrator” showed that the “parties agreed to
  20 arbitrate gateway issues of arbitrability.” Wilson v. Wells Fargo & Co., No. 20-CV-
  21 2307-DMS-WVG, 2021 WL 1853587, at *2-3 (S.D. Cal. May 10, 2021). Thereafter,
  22 the case was resolved in arbitration, and the arbitrator found that Wilson did not prove
  23 his claims for violation of Regulation E and violation of the California UCL and held
  24 that Wells Fargo was the prevailing party in the matter (the “Wilson Final Award”).1
  25
  26
  27   1
      Notably, it took only 314 days from the date MLG filed Wilson’s arbitration demand
  28 until the Wilson Final Award was entered.

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   1 A true and correct copy of the Wilson Final Award is attached hereto as Exhibit B.
   2 The Court confirmed the Wilson Final Award without objection.
   3           3.   As the Wilson arbitration was nearing completion, MLG filed arbitration
   4 demands against Wells Fargo on behalf of 13 individual claimants (“13 Demands”).
   5 Shortly thereafter, on April 13, 2022, MLG began its mass arbitration2 campaign
   6 against Wells Fargo by filing 497 additional arbitration demands against the bank
   7 with AAA. The additional demands (including Plaintiffs’ Arbitration Demands) were
   8 virtually identical, and included the following, identical statement in the portion of
   9 the demand form requiring the claimant to briefly explain the dispute: “Claimant
  10 seeks statutory damages and return of overdraft fees collected in violation of
  11
  12
       2
         A number of law firms have implemented a new strategy in response to class action
  13
       waivers called “mass arbitration.” In “mass arbitrations,” a law firm gathers the
  14   claims that would have been part of the class action through solicitation efforts and
       assert them individually in arbitration through usually identical demands on behalf of
  15
       individuals. See 1 Alt. Disp. Resol. § 8:22 (4th ed.). Most arbitration agreements
  16   require that defendants pay the majority of the administrative fees—which can result
       in the defendant having to pay millions of dollars in initial administrative filing fees
  17
       before any ruling on the merits of the dispute have been litigated, much less resolved.
  18   See, e.g., Uber Tech., Inc., v. Am. Arbitration Ass’n, Inc., 2022 WL 1125962, at *31
       (N.Y.A.D. 1 Dept.) (No. 655549/21) (discussing AAA’s intent to invoice Uber more
  19
       than $91 million in connection with mass arbitration campaign consisting of 31,560
  20   boilerplate arbitration demands); Abernathy v. DoorDash, Inc., 438 F. Supp. 3d 1062,
       1064 (N.D. Cal. 2020) (discussing AAA’s invoice of nearly $12 million in
  21
       administrative fees to DoorDash in connection with mass arbitration campaign);
  22   Mem. of Law in Supp. of Def. Chegg, Inc.’s Mot. for Clarification or Modification
  23   of the Court’s April 27, 2020 Order at 16-18, Lyles v. Chegg, Inc., No. 1:19-cv-
       03235-RDB (D. Md. Aug. 4, 2020), ECF No. 26 (discussing AAA’s charging over
  24   $7 million in filing fees as part of mass arbitration campaign). As a result of this fee
  25   structure, there is the potential for abuse where the plaintiff-side law firm attempts to
       force high-dollar settlements from businesses that have nothing to do with the merits
  26   of the alleged claims, but instead are driven by the desire to avoid the costs the
  27   defendant must incur to pay for arbitration itself. See Br. of the Chamber of Com. of
       the U.S. as Amicus Curiae in Supp. of Defs.-Appellants and Reversal at 9-18,
  28   MacClelland v. Cellco P’ship, No. 22-16020 (9th Cir. Nov. 28, 2022).
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   1 Regulation E of the federal Electronic Funds Transfer Act, and for violation of state
   2 consumer fraud laws that have also been violated as a result of Respondent’s
   3 violations of Regulation E.” True and correct copies of Plaintiffs’ Arbitration
   4 Demands are attached hereto as Exhibits C-F. (Plaintiff Berenice Cisneros’ demand
   5 states that his name is “Bernice”. The Complaint filed in this matter misspelled
   6 Plaintiff Alexandria Mosley’s name as Mosely as acknowledged in Dkt. 13-1.) Filed
   7 with each demand was an identical “Statement of Claims,”3 wherein MLG does not
   8 specify which state consumer fraud law or statutory section applies to the claimant’s
   9 arbitration, but states that the “Claimant seeks actual damages, statutory damages,
  10 restitution, and all appropriate injunctive relief provided for by applicable state laws.”
  11 See id.
  12           4.   On April 22, 2022, AAA informed MLG and counsel for Wells Fargo
  13 via letter (the “April 22nd AAA Letter”) that the additional demands would be subject
  14 to AAA’s Supplementary Rules for Multiple Case Filings (the multiple case filing
  15 dispute is referred to herein as the “MCF”). A true and correct copy of the April 22nd
  16 AAA Letter is attached hereto as Exhibit G. The parties and AAA agreed that the 13
  17 Demands should be treated as part of the MCF as well. On April 25, 2022, MLG sent
  18 a letter to AAA wherein it stated that “[a]lthough not filed simultaneously with our
  19 recent multi case filing, we request that all of these cases be consolidated and
  20 otherwise subject to AAA’s Supplementary Rules for Multiple Case Filings
  21 pursuant to Rule MC-1(c) thereto” (the “April 25th MLG Letter”). (Emphasis added).
  22 A true and correct copy of the April 25th MLG Letter is attached hereto as Exhibit H.
  23
  24
       3
  25   On September 29, 2022, MLG began to arbitrarily change the statement of claims
     it files with its clients’ demands to include additional claims (for example, a claim
  26 based on an authorized positive, settle negative (“APSN”) theory). The demands and
  27 statement of claims filed by MLG on behalf of the four Plaintiffs in this action,
     however, only assert a violation of Regulation E. See Exhibits C-F (Plaintiffs’
  28 Arbitration Demands).

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   1 On May 6, 2022, Wells Fargo sent a letter to AAA responding to the April 25th MLG
   2 Letter stating that it did not object to the implementation of the Supplementary Rules,
   3 but that it expected AAA to abide by the arbitration agreements between the parties
   4 (the “May 6th Wells Fargo Letter”). A true and correct copy of the May 6th Wells
   5 Fargo Letter is attached hereto as Exhibit I.
   6         5.    Since that time, MLG has continued to file individual arbitration
   7 demands in tranches even after the filing of the Complaint and Motion for Preliminary
   8 Injunction. The total number of individual arbitration demands MLG has filed with
   9 AAA against Wells Fargo as of February 1, 2023 is 3,365. AAA confirmed receipt of
  10 each tranche of demands to MLG and Wells Fargo and has continued to treat all these
  11 filings as part of the MCF subject to the Supplementary Rules. At no point in time
  12 prior to the entry of the PA Order did MLG object to AAA’s application of the
  13 Supplementary Rules.
  14         6.    On July 12, 2022, AAA informed the parties that AAA’s Consumer
  15 Rules (“Consumer Rules”) and Supplementary Rules would apply to the MCF (the
  16 “July 12th AAA Letter”). A true and correct copy of the July 12th AAA Letter is
  17 attached hereto as Exhibit J. On July 29, 2022, AAA confirmed via letter the
  18 appointment of the Honorable Anita Rae Shapiro to serve as Process Arbitrator for
  19 AAA dispute (the “July 29th AAA Letter”). A true and correct copy of the July 29th
  20 AAA Letter is attached hereto as Exhibit K. At no point in time in writing or orally
  21 did MLG object to AAA’s application of the Supplementary Rules to the MCF until
  22 the filing of this lawsuit.
  23         7.    After AAA determined the MCF would be governed by the
  24 Supplementary Rules, it began invoicing Wells Fargo for the initial administrative
  25 filing fees associated with the demands filed by MLG. Thus far, AAA has invoiced
  26 Wells Fargo on eight separate occasions (April 22, 2022, May 6, 2022, May 18, 2022,
  27 June 23, 2022, July 18, 2022, August 12, 2022, October 7, 2022, and October 26,
  28 2022) for a total amount of $501,075.00 in initial administrative filing fees

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   1 (collectively, the “Invoices”). True and correct copies of the Invoices are attached
   2 hereto as Exhibit L. These fee payments include invoiced fees for Plaintiffs’
   3 arbitrations. Wells Fargo has timely paid each of the Invoices, and has no outstanding
   4 or unpaid invoices with AAA. A true and correct copy of a February 3, 2023 email
   5 from AAA to Wells Fargo confirming that all the Invoices have been paid and that
   6 Wells Fargo does not have any outstanding unpaid invoices from AAA is attached
   7 hereto as Exhibit M.
   8        8.     Soon after MLG began its mass arbitration campaign against Wells
   9 Fargo, it became clear to Wells Fargo that MLG was not performing adequate due
  10 diligence to confirm that claimants (1) had enrolled in Wells Fargo’s Debit Card
  11 Overdraft Service (“DCOS”) (i.e., the overdraft program that is the focus of the claims
  12 in the MCF)—a pre-requisite to bringing their claims; (2) had incurred any overdraft
  13 fees subject to Regulation E; or (3) in some cases, even had an account with Wells
  14 Fargo. Additionally, along with its clients’ arbitration demands, MLG was also
  15 submitting an “authorization” form for many claimants purporting to request the
  16 release of certain account documents. These authorizations provided the date that the
  17 individual retained MLG to represent them in arbitration against Wells Fargo, the
  18 claimant’s name, address, email, and a place for the claimant to provide their Wells
  19 Fargo account number. The authorizations submitted by MLG, however, established
  20 MLG’s blatant failure to vet its clients’ claims. This included, for example, claimants
  21 listing their Wells Fargo account numbers as: “i don’t have one”; “Idk”;
  22 “xxxxxxxxxx”; “XXX…”; “Not giving my account”; “None”; “999999999”; “N/A”;
  23 “[claimant’s last name]”; “Not sure”; “Blank”; “000000000”. True and correct copies
  24 of the above-described authorizations are attached hereto as Exhibit N.
  25        9.     Further, Wells Fargo’s preliminary review of the demands filed by MLG
  26 indicated that many claimants never even agreed to participate in DCOS. Indeed, in
  27 some cases, Wells Fargo has been unable to find any checking account associated
  28 with the claimants. MLG tries to avoid its basic pleading obligations by suggesting

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   1 that this information is solely within Wells Fargo’s possession. However, whether a
   2 claimant has opted into DCOS can be answered by a cursory review of the claimant’s
   3 bank statement, which specifies if the claimant is enrolled in the service. A true and
   4 correct copy of a redacted bank statement is attached hereto as Exhibit O. The bank
   5 statements further itemize every transaction, including transactions covered by
   6 Regulation E which resulted in an overdraft fee. See id. Importantly, with the
   7 information currently being provided by MLG, Wells Fargo is forced to conduct
   8 multiple searches to identify the proper claimant that cost inordinate amounts of time
   9 and money, and the results of such searches cannot provide Wells Fargo information
  10 with any level of confidence as to its accuracy. This information cannot be outside of
  11 MLG’s grasp, either—MLG’s advertising specifically requests that individuals
  12 seeking to qualify as claimants for arbitration against Wells Fargo submit a Wells
  13 Fargo bank statement to MLG for review. See Overdraft Fee Claims Against Wells
  14 Fargo,       https://mccunewright.com/overdraft-fee-claims-against-wells-fargo/   (last
  15 visited February 3, 2023) (“If you are a Wells Fargo customer who has been
  16 victimized by unfair overdraft fees, contact our team to see if you qualify to recover
  17 your money. To qualify quickly, submit your most current Wells Fargo bank
  18 statement to our team.”).
  19        10.      It appears that many claimants found their way to MLG through
  20 advertising on MLG’s website. MLG’s advertising has evolved over time but at one
  21 point claimed that “[a]ny Wells Fargo customer who received an overdraft fee within
  22 the past 12 months can qualify” to join the mass arbitration campaign against Wells
  23 Fargo, and then went on to explain that each arbitration it files forces Wells Fargo to
  24 pay “a whopping $4,000.00, not including their attorneys’ fees!” Thus, MLG
  25 explained, “bringing hundreds of thousands of arbitrations, each resulting in
  26 thousands paid by Wells Fargo, means consumers can finally hit one of the world’s
  27 largest corporations where it hurts.” A true and correct copy of a screen capture of
  28 MLG’s advertising taken on June 30, 2022 is attached hereto as Exhibit P. The

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   1 advertisement also stated that in June 2022, MLG, while “representing hundreds of
   2 clients who have been charged unfair overdraft fees in arbitrations against Wells
   3 Fargo,” “secured the return of all overdraft fees charged within the past year plus
   4 a $1000.00 penalty for every client.” MLG did not secure any result for any of its
   5 clients in arbitration concerning overdraft fees against Wells Fargo in June 2022.
   6 Indeed, the only June 2022 arbitration MLG was handling against Wells Fargo related
   7 to overdraft fees was the Wilson matter which was decided for Wells Fargo.
   8        11.    MLG’s failure to perform due diligence into its clients’ claims prior to
   9 filing demands on their behalf (along with MLG’s expressed intent to “hit” Wells
  10 Fargo “where it hurts”) caused Wells Fargo, pursuant to AAA’s rules, to raise the
  11 issue of the insufficiency of information provided in the demands with the Process
  12 Arbitrator during an initial conference call on August 24, 2022. Wells Fargo pointed
  13 out that MLG’s method of procuring clients and filing demands had likely resulted in
  14 hundreds of demands being filed on behalf of individuals with no legitimate claims
  15 against Wells Fargo, thereby requiring Wells Fargo to pay hundreds of thousands of
  16 dollars in nonrefundable filing fees for arbitrations involving individuals who may
  17 have never enrolled in the overdraft program at issue, never been assessed an
  18 overdraft fee subject to Regulation E during an actionable limitations period, or who
  19 may never have even had an account with Wells Fargo.
  20        12.    On the call, the Process Arbitrator recognized the issues being raised by
  21 Wells Fargo and questioned whether certain basic information regarding each
  22 claimant’s individual dispute with Wells Fargo would be helpful to the efficient and
  23 economical administration of all claims. In doing so, the Process Arbitrator opined
  24 that claimants’ current demands could be amended—and future demands be
  25 required—to meet the basic information required of a demand which is set forth in
  26 the Consumer Rules so that information establishing legitimate claims was provided.
  27 MLG requested briefing on the topic, arguing that the Process Arbitrator lacked the
  28

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   1 jurisdiction and authority to rule on the issue. The Process Arbitrator granted the
   2 briefing request and set a briefing schedule for the parties.
   3         13.    On September 7, 2022, Wells Fargo submitted a memorandum to the
   4 Process Arbitrator requesting that she, pursuant to Supplementary Rules MC-6(d)(i),
   5 (ii), and (v), enter an order requiring claimants to provide basic information about
   6 each dispute prior to proceeding through the arbitration process (the “September 7th
   7 Wells Fargo Memo”). A true and correct copy of the September 7th Wells Fargo
   8 Memo is attached hereto as Exhibit Q. Therein, Wells Fargo explained in detail the
   9 issues stemming from MLG’s misleading solicitations and failure to conduct due
  10 diligence. Wells Fargo also requested that, to protect the integrity of the dispute, MLG
  11 be required to supply in each demand: “(a) the Claimant’s Wells Fargo checking
  12 account number for the account issue, (b) sufficiently pled facts establishing that the
  13 Claimant was enrolled in the overdraft service at issue, (c) sufficiently pled facts
  14 establishing that the Claimant incurred overdraft fees in connection with transactions
  15 covered by Regulation E, (d) identification of the specific state law(s) under which
  16 Claimants assert claims (statutory or common law), and (e) …the amount of money
  17 in dispute.” Wells Fargo also requested that AAA’s invoicing of fees and arbitrator
  18 compensation related to the demands or arbitrations be stayed until the demands were
  19 amended to meet these requirements. The September 7th Wells Fargo Memo provided
  20 support in the Consumer and Supplemental Rules for making this request. See Id. at
  21 §§ II.C, III.B, III.C, III.D). Wells Fargo did not request, either in its briefing or at a
  22 hearing, that the Process Arbitrator impose requirements under California Code of
  23 Civil Procedure section 128.7.
  24         14.    MLG filed its response on September 21, 2022 (the “MLG September
  25 21st Response Memo”), and Wells Fargo filed its reply on October 5, 2021 (the
  26 “October 5th Wells Fargo Reply Memo”). True and correct copies of the MLG
  27 September 21st Response Memo and the October 5th Wells Fargo Reply Memo are
  28 attached hereto as Exhibits R and S.

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   1        15.    On October 18, 2022, the Process Arbitrator held an oral argument on
   2 the matter. At no time during oral argument or during the briefing of this issue did
   3 MLG take the position that the Supplementary Rules did not apply to the MCF. The
   4 parties also discussed whether MLG would withdraw any claims in light of a potential
   5 order requiring additional information and the Process Arbitrator suggested using a
   6 spreadsheet as a simpler method for handling all the claims filed to date.
   7        16.    On October 27, 2022, the Process Arbitrator entered an order regarding
   8 Wells Fargo’s request (the “PA Order”). A true and correct copy of the PA Order is
   9 attached hereto as Exhibit T. The PA Order granted in part and denied in part Wells
  10 Fargo’s request. It then went on to order each claimant to file and serve an amended
  11 demand for all claims filed before October 27, 2022—and required all demands filed
  12 thereafter to— “specifically plead, 1) each Claimant’s Wells Fargo account number
  13 for the account at issue, 2) facts to establish each Claimant was enrolled in DCOS
  14 during the time period at issue and 3) facts sufficient to establish that each Claimant
  15 incurred overdraft fees in connection with transactions covered by Regulation E.” Id.
  16 The PA Order also ordered that an attorney of record for claimants sign each amended
  17 claim as required by California Code of Civil Procedure section 128.7 or, in lieu of
  18 filing and serving a separate amended claim for each claimant, file one spreadsheet
  19 signed by an attorney of record for claimants including all the ordered information for
  20 each claimant. Id. The PA Order specifically stated that “claimants are not ordered;
  21 1) to file Amended Claims specifying which state laws have been violated or 2) allege
  22 the specific amount of overdraft fees each Claimant was wrongly charged.” The PA
  23 Order also stated that the “invoicing of AAA fees is stayed for all Claims that have
  24 not already been invoiced and for all new Claims filed with AAA until the
  25 [specificity] requirements [ ] have been satisfied.” Id. Neither the Process Arbitrator
  26 nor AAA has stated that the PA Order requires that all claimants meet the PA Order’s
  27 requirements prior to any individual claimant’s arbitration moving forward. MLG did
  28 not previously raise this with the Process Arbitrator or AAA. Wells Fargo has

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   1 consistently stated its intent and willingness to move forward with MLG’s clients’
   2 individual arbitrations as soon as an individual client files an amended demand
   3 meeting the PA Order’s requirements. See, e.g., Wells Fargo letter to AAA dated
   4 January 4, 2023 (the “January 4th Wells Fargo Letter”). A true and correct copy of the
   5 January 4th Wells Fargo Letter is attached hereto as Exhibit U.
   6         17.   Shortly after the PA Order was entered, MLG made clear that it would
   7 not abide by its terms. In a letter addressed to AAA’s President and Chief Executive
   8 Office and Senior Vice President, General Counsel, and Corporate Secretary, stated
   9 its intention to challenge the arbitration agreement in a federal court filing (the
  10 “November 2nd MLG Letter”). A true and correct copy of the November 2nd MLG
  11 Letter is attached hereto as Exhibit V. MLG then requested that AAA executives
  12 “voluntarily stay application of” the PA Order pending its forthcoming federal filing.
  13 See id.
  14         18.   On November 8, 2022, Wells Fargo responded to MLG’s letter by
  15 pointing out that the request to stay the PA Order was improper, as the Supplementary
  16 Rules explicitly provide the Process Arbitrator exclusive jurisdiction to decide the
  17 subject of the PA Order and state that “[r]ulings by the Process Arbitrator will be final
  18 and binding upon the parties” (the “November 8th Wells Fargo Letter”). A true and
  19 correct copy of the November 8th Wells Fargo Letter is attached hereto as Exhibit W.
  20 MLG replied to the November 8th Letter by informing AAA that although its
  21 claimants “consent to AAA arbitration pursuant to AAA rules,” it would move
  22 forward with filing claims with AAA that did not abide by the PA Order and would
  23 also file an action in federal court (the “November 10th MLG Letter”). A true and
  24 correct copy of the November 10th MLG Letter is attached hereto as Exhibit X.
  25         19.   On November 15, 2022, AAA sent a letter to the parties addressing
  26 MLG’s objection to the PA Order (the “November 15th AAA Letter”). A true and
  27 correct copy of the November 15th AAA Letter is attached hereto as Exhibit Y.
  28 Therein, AAA informed the parties that it would not be issuing an invoice for further

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   1 case management fees for any matters until claimants filed and served amended
   2 claims as required by the PA Order. Id. MLG has continued to file demands on behalf
   3 of new claimants that fail to meet the requirements of the PA Order. Accordingly, on
   4 November 22, 2022, Wells Fargo wrote to AAA asking it to confirm that, pursuant to
   5 the PA Order, no fees would be invoiced until the improperly submitted demands
   6 contained the information provided in the PA Order (the “November 22nd Wells Fargo
   7 Email”). A true and correct copy of the November 22nd Wells Fargo Email is attached
   8 hereto as Exhibit Z. AAA responded by requesting that the parties address the issue
   9 during a scheduled November 30, 2022 status conference with the Process Arbitrator
  10 (the “November 23rd AAA Email”). A true and correct copy of the November 23rd
  11 AAA Email is attached hereto as Exhibit AA.
  12         20.   At the November 30, 2022 status conference, the Process Arbitrator
  13 asked the parties to discuss how compliance with the PA Order was being handled.
  14 MLG informed the Process Arbitrator that it had not complied with the PA Order, and
  15 stated its intention to challenge the PA Order in a federal district court. MLG also
  16 informed the Process Arbitrator and Wells Fargo that it intended to continue to submit
  17 new claims that did not meet the requirements of the PA Order. Wells Fargo then
  18 reiterated the Process Arbitrator’s authority to rule on the matters in the PA Order and
  19 that under the Supplementary Rules, rulings by the Process Arbitrator are final and
  20 binding. The Process Arbitrator stated that invoicing of fees would be stayed until the
  21 PA Order is complied with, and ordered the parties to notify AAA within fifteen days
  22 of any order entered by a federal court regarding the matter. On December 1, 2022,
  23 the Process Arbitrator entered an order memorializing the status conference (the
  24 “December 1st PA Order”). A true and correct copy of the December 1st PA Order is
  25 attached hereto as Exhibit BB.
  26         21.   On December 8, 2022, Wells Fargo wrote to AAA objecting to MLG’s
  27 submission of demands on December 7, 2022, which did not meet the PA Order’s
  28 filing requirements, and requested confirmation that the improperly submitted

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   1 demands did not warrant imposition of AAA fees (the “December 8th Wells Fargo
   2 Letter”). A true and correct copy of the December 8th Wells Fargo Letter is attached
   3 hereto as Exhibit CC.
   4        22.    On December 9, 2022, MLG wrote AAA asking it to confirm whether
   5 all of the demands submitted after the PA Order were deemed filed by AAA (the
   6 “December 9th MLG Email”). A true and correct copy of the December 9th MLG
   7 Email is attached hereto as Exhibit DD. AAA responded on December 13, 2022,
   8 stating that given MLG’s forthcoming federal filing challenging the PA Order, it
   9 would await further direction from the district court as to how the arbitrations should
  10 or should not proceed (the “December 13th AAA Email”). A true and correct copy of
  11 the December 13th AAA Email is attached hereto as Exhibit EE.
  12        23.    On December 13, 2022, MLG filed the Complaint in this matter. The
  13 Complaint was filed on behalf of four individuals involved in the MCF and alleges
  14 that each Plaintiff was enrolled in Wells Fargo’s DCOS and was charged an overdraft
  15 fee subject to Regulation E. MLG did not serve the Complaint on AAA.
  16        24.    Plaintiffs have each submitted an arbitration demand against Wells Fargo
  17 as part of MLG’s mass arbitration campaign (collectively, “Plaintiffs’ Arbitration
  18 Demands”). See Exhibits C-F (Plaintiffs’ Arbitration Demands). Plaintiffs Alexandra
  19 Mosley and Bruce Parker submitted their arbitration demands on April 11, 2022.
  20 Plaintiff Rejoyce Kemp submitted her arbitration demand against Wells Fargo on July
  21 19, 2022. Plaintiff Berenice Cisneros submitted his arbitration demand against Wells
  22 Fargo on August 12, 2022. Like the other arbitration demands submitted as part of
  23 MLG’s mass arbitration campaign against Wells Fargo, Plaintiffs’ Arbitration
  24 Demands are virtually identical, include identical statements when required to briefly
  25 explain the dispute, and include virtually identical “Statement of Claims” that do not
  26 specify which state consumer fraud law or statutory section applies to Plaintiffs’
  27 arbitrations. See id. As all of the Plaintiffs’ demands were submitted prior to MLG
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   1 beginning to add APSN claims on September 29, 2022, none of their demands assert
   2 a claim based on an APSN theory.
   3         25.   On January 4, 2023, AAA reached out to the parties asking for a status
   4 update on the federal filing (the “January 4th AAA Email”). A true and correct copy
   5 of the January 4th AAA Email is attached hereto as Exhibit FF. That same day, Wells
   6 Fargo provided a detailed response to AAA and the Process Arbitrator See Exhibit U
   7 (January 4th Wells Fargo Letter). The January 4th Wells Fargo Letter provided a
   8 timeline of events since the PA Order was entered, restated the PA Order’s
   9 requirements, and noted MLG’s refusal to comply with the PA Order and its
  10 continued submission of non-compliant demands. Wells Fargo then discussed the
  11 Complaint and pointed out that the federal filing was only brought on behalf of four
  12 individuals. Most notably, Wells Fargo informed AAA that, given the limited scope
  13 of the Complaint, Wells Fargo was “prepared to move forward with all claimant
  14 arbitrations” other than the Plaintiffs “as soon as those Claimants provide the
  15 information required in” the PA Order. Wells Fargo asked that MLG advise it and
  16 AAA if MLG objected to moving forward with arbitrations for other claimants and
  17 the grounds for such objection. MLG responded to the January 4th AAA Email by
  18 providing the case name and case number of this lawsuit, but did not address the
  19 January 4th Wells Fargo Letter or its request related to moving forward with
  20 arbitrations for claimants other than the Plaintiffs (the “January 5th MLG Email”). A
  21 true and correct copy of the January 5th MLG Email is attached hereto as Exhibit GG.
  22 On January 13, 2023, AAA reiterated that, in light of the December 1st Order and the
  23 litigation between the parties regarding the enforceability of the PA Order, it would
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   1 wait the further direction from the District Court as to how the arbitrations should or
   2 should not procced (the “January 13th AAA Email”). A true and correct copy of the
   3 January 13th AAA Email is attached hereto as Exhibit HH.
   4
   5        I declare under penalty of perjury under the laws of the State of California that
   6 the foregoing is true and correct.
   7        Executed this 3rd day of February 2023, in San Francisco, California.
   8
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                                          By: /s/ Alicia A. Baiardo
  10                                              Alicia A. Baiardo
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   1                           CERTIFICATE OF SERVICE
   2        I hereby certify that on February 3, 2023 I electronically filed the foregoing

   3 document entitled DECLARATION OF ALICIA A. BAIARDO IN SUPPORT
   4 OF DEFENDANTS’ MOTION TO COMPEL ARBITRATION with the Clerk
   5 of the Court for the United States District Court, Southern District of California
   6 using the CM/ECF system and served a copy of same upon all counsel of record via
   7 the Court’s electronic filing system.
   8
                                                  /s/ Alicia A. Baiardo
   9                                              Alicia A. Baiardo
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       DECLARATION OF ALICIA A. BAIARDO IN SUPPORT OF DEFENDANTS’ MOTION TO
                                COMPEL ARBITRATION
